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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )
                               Plaintiff,   )
                                            )                     CRIMINAL ACTION
v.                                          )
                                            )                     No. 12-20083-11-KHV
PETER PARK,                                 )
                                            )
                               Defendant.   )
____________________________________________)

                               MEMORANDUM AND ORDER

       Defendant’s pro se letter (Doc. #1792) filed February 21, 2015, which the Court construes

as a pro se motion for transcripts, is overruled because defendant is represented by counsel who did

not sign the motion. See United States v. Sandoval-DeLao, 283 Fed. Appx. 621, 625 (10th Cir.

2008) (no error in refusal to consider pro se motion when defendant represented by counsel); United

States v. Castellon, 218 Fed. Appx. 775, 780 (10th Cir. 2007) (if criminal defendant represented by

counsel, court does not accept pro se filings or allegations); United States v. McKinley, 58 F.3d

1475, 1480 (10th Cir. 1995) (no constitutional right to “hybrid form of representation”).

       IT IS SO ORDERED.

       Dated this 13th day of April, 2015 at Kansas City, Kansas.

                                              s/ Kathryn H. Vratil
                                              KATHRYN H. VRATIL
                                              United States District Judge
